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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :
               v.                            :       Case No. 1:21-cr-214 (JDB)
                                             :
JOSEPH LINO PADILLA,                         :
                                             :
                      Defendant.             :

                                   JOINT STATUS REPORT

       NOW COMES the United States, by and through the United States Attorney for the District

of Columbia, and the Defendant, Joseph Lino Padilla, to submit this joint status report in response

to this Court’s January 3, 2025 Minute Order. Following the remand from the Court of Appeals

for the D.C. Circuit, USCA No. 23-3186, and upon review of the record, the parties agree that

resentencing may be warranted in this matter. The parties further request the opportunity to submit

supplemental sentencing memoranda in advance of the resentencing hearing.



                                                     Respectfully submitted,

                                                     MATTHEW M. GRAVES
                                                     UNITED STATES ATTORNEY
Counsel for the Defendant                            D.C. Bar Number 481052

/s/ AMANDA SKINNER                       By:         /s/ ANDREW HAAG
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